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FORM 1. Notice of Appeal from a United States Federal Court (District Court, Court of Appeals for      Form 1
Veterans Claims, Court of Federal Claims (non-vaccine appeals), and Court of International Trade)   March 2023




                                          UNITED STATES

                                          SELECT COURT



                                       NOTICE OF APPEAL
      Notice is hereby given that the appellant(s) listed below hereby appeal(s) the
below-noted case to the United States Court of Appeals for the Federal Circuit.
Case number being appealed:               22-CV-00173(SAV)

Case title being appealed:                Cozy Comfort Company, LLCv, United States

Date of final judgment or order being appealed:                     June 16, 2025

List all Appellants (List each party filing this appeal. Do not use "et al." or other
abbreviations. Attach continuation pages if necessary.)
Cozy Comfort Company, LLC




Date: June 25, 2025                               Signature:

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